Case 2:97-cr-20190-SH|\/| Document 44 Filed 04/19/05 Page 1 of 2 Page|D 13

UNITED sTATEs DISTRICT coURT
WESTERN DISTRICT oF TENNESSEE iii .:1_-»”§? a "t 111 1 "
Western Division
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UNITED sTATES 0F AMERICA

-vs- Case No. 97cr20190-Ma

KENNETH MCMULLEN

 

ORDER OF TEMPORARY DETENTION
PENDING HEARING1 PURSUANT TO
BAIL REFORM ACT
Upon motion of the Government, it is ORDERED that a probable cause/detention hearing
is set for FRIDAY, APRIL 22, 2005 at 2:30 P.M. before United States Magistrate Judge Tu M.
Pham in Courtroom No. 6, Third Floor, United States Courthouse and Federal Building, 167

North Main, Mernphis, TN. Pending this hearing, the defendant shall be held in custody by the

United States Marshal and produced for the hearing

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Daie; Aprii 19, 2005 b_/\/
`TU M. PHAM

UNITED STATES MAGISTRATE JUDGE

 

lIf not held immediately upon defendant‘s first appearance, the hearing may be continued for up to three days upon
motion of the govemment, or up to five days upon motion of the defendant 18 U.S.C. § 3142(1‘)(2).

A hearing is required whenever the conditions set forth in 18 U.S.C. § 3142(f) are present. Subsection (l ) sets forth
the grounds that may be asserted only by the attorney for the government; subsection (2) states that a hearing is mandated
upon the motion of the attorney for the government or upon the judicial officer's own motion, if there is a sen ous risk that the
defendant (a) will flee or (b) will obstruct or attempt to obstruct justice, or threaten, in jure, or intimidate or attempt to threaten,
inj ure, or intimidate a prospective witness or juror.

AO 470 (E.'BS) Order of Ternporar'y De\ention

his document entered on the docket sheet in compliance

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Notice of Distribution

This notice confirms a copy of the document docketed as number 44 in
case 2:97-CR-20190 Was distributed by faX, mail, or direct printing on
April 20, 2005 to the parties listed.

 

 

Dan NeWsom

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Honorable Sarnuel Mays
US DISTRICT COURT

